      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 1 of 48
163




163
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 2 of 48
164




164
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 3 of 48
165




165
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 4 of 48
166




166
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 5 of 48
167




167
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 6 of 48
168




168
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 7 of 48
169




169
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 8 of 48
170




170
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 9 of 48
171




171
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 10 of 48
172




172
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 11 of 48
173




173
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 12 of 48
174




174
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 13 of 48
175




175
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 14 of 48
176




176
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 15 of 48
177




177
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 16 of 48
178




178
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 17 of 48
179




179
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 18 of 48
180




180
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 19 of 48
181




181
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 20 of 48
182




182
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 21 of 48
183




183
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 22 of 48
184




184
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 23 of 48
185




185
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 24 of 48
186




186
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 25 of 48
187




187
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 26 of 48
188




188
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 27 of 48
189




189
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 28 of 48
190




190
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 29 of 48
191




191
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 30 of 48
192




192
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 31 of 48
193




193
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 32 of 48
194




194
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 33 of 48
195




195
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 34 of 48
196




196
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 35 of 48
197




197
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 36 of 48
198




198
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 37 of 48
199




199
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 38 of 48
200




200
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 39 of 48
201




201
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 40 of 48
202




202
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 41 of 48
203




203
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 42 of 48
204




204
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 43 of 48
205




205
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 44 of 48
206




206
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 45 of 48
207




207
      6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 46 of 48
208




208
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 47 of 48
209




209
  6:16-cv-00069-JHP Document 123-6 Filed in ED/OK on 03/15/19 Page 48 of 48
210




210
